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Dated: April 18, 2016
The following is SO ORDERED:


                                                  ________________________________________
                                                              David S. Kennedy
                                                  UNITED STATES CHIEF BANKRUPTCY JUDGE


____________________________________________________________




                        UNITED STATES BANKRUPTCY COURT
                         WESTERN DISTRICT OF TENNESSEE



       IN RE: MCDONAGH, DONAL MARTIN AND Case No. 12-27642
       MICHELE RAWLS
       Debtor                            Chapter 13



               CONSENT ORDER MODIFYING PLAN (POST-PETITION)

       It appears to the Court from the signatures hereto of James Gentry, the Attorney for the

Debtor, and the Shelby County Trustee and from the entire record in this cause, that the Debtor’s

Plan should be amended to include and/or properly reflect the claim of the Shelby County

Trustee.

       IT IS, THEREFORE, ORDERED ADJUDGED AND DECREED:
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       1. That the Debtor’s plan is hereby amended in order to properly reflect the balance

            owed to the Shelby County Trustee under account number(s) G0231S0D000060

            (2416 Sanders Ridge).

       2. That this creditor , the Shelby County Trustee, be and said creditor is allowed to be

            paid as Secured Class @ 100% with 12% interest per annum (pursuant to

            T.C.A. 67-5-2010) in the amount of $7,049.38 at monthly installments determined by

            the Standing Chapter 13 Trustees for post-petition taxes due and payable for tax

            year(s) 2015.

       3.    That the Chapter 13 plan payments are increased accordingly.


           Approved:


       /s/ Elijah Noel, Jr.
       U




       Elijah Noel, Jr. (#8655)
       Attorney for Shelby County Trustee

       /s/James Gentry (By Permission)
                                                                  RETURN ADDRESS:
       U                U                U




       Attorney for Debtor
                                                                  Elijah Noel, Jr.
                                                                  Shelby County Trustee
          /s/ George W. Stevenson                                 157 Poplar Ave, 3rd Floor
       ________________________
                                                                  Memphis, TN 38103
       Chapter 13 Trustee




      The undersigned individual hereby certifies that the listed should be served via first class

U.S. mail, postage prepaid, via hand delivery, or email true and correct copies of the Consent

Order Modifying Plan (Post-Petition) to all interested parties:

       1. Donal Martin and Michele Rawls McDonagh, Debtor

       2. James Gentry, Debtor’s Attorney
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    3. George Stevenson, Chapter 13 Trustee


                                   /s/ Drew Daniel ______________
                                       Attorney /Movant Elijah Noel, Jr.
                                      Elmira S. Hord / Bankruptcy, Collection Department
                                       157 Poplar Ave, 3rd Floor
                                       Memphis, TN 38103
                                       (901) 432-4776
